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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


     REGINALD MIMS,                         )
     Ars #298473,                           )
                                            )
           Plaintiff,                       )
                                            )
     v                                      )              CIVIL ACTION NO.:
                                            )              1:   17-CV-255-KD-N
     JEFFERSON DUNN, et al.,                )
                                            )
           Defendants.                      )


                               CERTIFICATE OF RECORDS

           I hereby certify that I am the legal custodian and keeper of the records
     of Reginald Mims, AIS # 298473, and that the documents attached hereto
     are true and correct copies of medical records pertaining to Reginald Mims.

     The attached records are dated March 12,2015 through August 14,2017.

     These records are produced as they appear on record and on         file in my office
     at Holman Correctional Facility, Holman 3700, Atmore, Alabama 36503.

           I also certify that I have reviewed Reginald Mims'medical file and the
     attached medical records are all of Reginald Mims's medical records for the

     period of time between March 12,2015 through August 14,2017.                  All of
     Reginald Mims' medical records which are attached hereto.

           I certify that said records were     made   in the regular course of business,
     and that   it   was in the regular course of said office fur such records to be




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     made at the time of the events, transactions or occurrences to which they

     refer or within a reasonable time thereafter.




                                         CUSTODIAN OF MEDICAL RECORDS



           SWORN AND SUBSCRIBED before me this the               ll{-            day

     of December 20i7.



                                            t1
                                           OTA       PUBLIC

                                         My Commission Expires:
                                                              My Commision Expires 3f262020




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